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                                                                March 13, 2020

VIA ECF

Hon. Judith C. McCarthy
United States District Court – S.D.N.Y.
300 Quarropas St.
White Plains, NY 10601

          Re:                   Levy v. Law Offices of J. Henry Nierman
          Index:                17-cv-4022 (NSR)(JCM)

Your Honor:

        My firm is counsel to Plaintiff in the above-referenced action. We write on behalf of
Plaintiff and Defendants Law Offices of J. Henry Nierman, Recovery of Judgment LLC, and J.
Henry Nierman, pro se (collectively, “Defendants”). As directed by Your Honor at the Status
Conference on February 28, 2020, and by the ECF Order entered March 3, 2020, the parties write
jointly to provide an update concerning the status of settlement.

        On Wednesday, March 11, 2020, the parties, through counsel and pro se Defendant Mr.
Nierman, conferred by telephone regarding their respective settlement positions. After an
approximately half-hour discussion in which the parties thoroughly shared their disparate views
on liability as well as potential damages in this matter, the parties remain at an impasse.

       Should the parties make any further progress in resolving this matter, we will promptly
inform the Court.

                                                                Respectfully,
                                                                /s/ Evan S. Rothfarb
                                                                Evan S. Rothfarb

cc: all counsel of record




T. 212.500.6114                                       NEW YORK                         MISSISSIPPI
F. 646.612.7996                                       9 East 40th St, Ste 1300         200 North Congress Street, Ste 117
E. erothfarb@consumerprotection.net                   New York, NY 10016               Jackson, MS 39201
